Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 1 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 2 of 17

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

STEAMSHIP TRADE ASSOCIATION OF Case No. 1:22-cv-08228-JSR.
BALTIMORE — INTERNATIONAL
LONGSHOREMEN’S ASSOCIATION CLASS ACTION
PENSION FUND, Individually and on Behalf of
All Others Similarly Situated, Judge: Hon. Jed S. Rakoff
Date: June 10, 2024
Plaintiff, Time: 4:00 PM
v.

OLO INC., NOAH GLASS, and PETER
BENEVIDES,

Defendants.

Oe [PROPOSED FINAL ORDER AND JUDGMENT GRANTING
FINAL APPROVAL OF CLASS ACTION SETTLEMENT

WHEREAS, the Court is advised that the Settling Parties, through their counsel, have
agreed, subject to Court approval following notice to the Class and a hearing, to settle this Action
upon the terms and conditions set forth in the Stipulation and Agreement of Settlement and Release
dated January 16, 2024 (the “Stipulation”), which was filed with the Court.!

WHEREAS, on February 20, 2024, the Court entered its Order Preliminarily Approving
Settlement and Providing for Notice (ECF No. 118) (the “Preliminary Approval Order’), which
preliminarily approved the Settlement and approved the form and manner of notice to the Class of

the Settlement.

i All defined and capitalized terms herein shall have the same meaning as set forth in the

Stipulation.
Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 2 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 3 of 17

WHEREAS, said notice has been made to the Class and the Settlement Fairness Hearing
has been held pursuant to the terms of the Order Preliminarily Approving Settlement and Providing
for Notice.

NOW, THEREFORE, based upon the Stipulation and all of the filings, records, and
proceedings herein, and it appearing to the Court upon examination that the Settlement set forth in
the Stipulation is fair, reasonable, and adequate, and upon the Settlement Fairness Hearing having
been held after notice to the Class of the Settlement to determine if the Settlement is fair,
reasonable, and adequate and whether the Judgment should be entered in this Litigation, IT IS
ORDERED, ADJUDGED, AND DECREED THAT:

1. The provisions of the Stipulation, including definitions of the terms used therein,
are hereby incorporated by reference as though fully set forth herein.

2. This Court has jurisdiction of the subject matter of this Action and over all of the
Settling Parties and all Members of the Class, including all Class Members who did not timely file
a request for exclusion from the Settlement Class by the relevant deadline pursuant to the
Preliminary Approval Order.

3. The form, content, and method of dissemination of notice given to the Class was
adequate and reasonable, met the requirements of due process, Rule 23 of the Federal Rules of
Civil Procedure, and 15 U.S.C. §78u-4(a)(7) (added to the Exchange Act by the Private Securities
Litigation Reform Act of 1995), and constituted the best notice practicable under the
circumstances, including individual notice to all Class Members who could be identified through

reasonable effort.
Case 1:22-cv-08228-JSR Document126 Filed 06/11/24 Page 3 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 4 of 17

4, Notice, as given, complied with the requirements of federal law, satisfied the

requirements of due process, and constituted due and sufficient notice of the matters set forth

herein.

5. The Settlement set forth in the Stipulation is fair, reasonable, and adequate.

(a)

The Settlement was negotiated at arm’s length by Class Representative and
Class Counsel on behalf of the Class and by Defendants, all of whom were
represented by highly experienced and skilled counsel. The case settled
only after: (1) an in-person mediation session conducted by an experienced
mediator who was thoroughly familiar with this Action; (2) follow-up
negotiations facilitated by the mediator; (3) the exchange of detailed
mediation statements prior to the in-person mediation which highlighted the
factual and legal issues in dispute; (4) Class Counsel’s extensive
investigation, which included, among other things, a review of Olo’s U.S.
Securities and Exchange Commission filings, and other information about
the Defendants; (5) the drafting and filing of two detailed amended
complaints; (6) two orders by the Court granting in part and denying in part
Defendants’ motions to dismiss; (7) a “bottom-line” Order by the Court
granting Class Representative’s class certification motion; and (8) extensive
factual and expert discovery, including 18 depositions, the filing and/or
exchange of eight expert reports, and the production and review of over
100,000 documents, consisting of approximately 530,000 pages of material.

Accordingly, both Class Representative and Defendants were well-
Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 4 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 5 of 17

positioned to evaluate the settlement value of this Action. The Stipulation
has been entered into in good faith and is not collusive.

(b) — If the Settlement had not been achieved, both Class Representative and
Defendants faced the expense, risk, and uncertainty of extended litigation,
including summary judgment, trial, post-trial motions, and appeals. The
Court takes no position on the merits of either Class Representative’s or
Defendants’ arguments but notes these arguments as further evidence in
support of the reasonableness of the Settlement.

6. Class Representative and Class Counsel have fairly and adequately represented the
interests of the Class Members in connection with the Settlement.

7. Class Representative, all Class Members, and Defendants are hereby bound by the
terms of the Settlement set forth in the Stipulation.

8. The Settlement shall be consummated in accordance with the terms and provisions
of the Stipulation. The Settling Parties are to bear their own costs, except as otherwise provided
in the Stipulation.

9. The Court hereby reaffirms its determination in its orders dated December 1 and
18, 2023 granting (and affirming) class certification and appointing Steamship Trade Association
of Baltimore — International Longshoremen’s Association Pension Fund as Class Representative
and Scottt+Scott Attorneys at Law LLP as Class Counsel. ECF Nos. 106, 112.

10. | The Court hereby reaffirms its determination in the Preliminary Approval Order
that the Settlement Class shall be composed of all persons and entities that purchased or otherwise
acquired shares of Olo’s Class A common stock between March 17, 2021 and August 11, 2022,

inclusive, and who were damaged thereby, exciuding any of the Defendants, Oio’s officers and
Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 5 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 6 of 17

directors, members of their immediate families, legal representatives, heirs, successors or assigns,
and any entity in which they have or had a controlling interest.

11. Upon the Effective Date, except with respect to individual claims by persons who
have validly and timely requested exclusion from the Class as listed in Exhibit A, all of the claims
asserted in the Second Amended Class Action Complaint for Violations of Federal Securities
Laws, dated August 9, 2023 (“Complaint”) (ECF No. 72), or the Action against the Defendants
are hereby dismissed with prejudice, without costs as to the Settling Parties, except as awarded
under the Settlement Fund and approved by the Court.

12. Upon the Effective Date, all Released Parties are released in accordance with the
Stipulation, and as defined in the Stipulation, each of the Releasing Parties are hereby deemed to

have fully, finally, and forever waived, released, relinquished, and discharged each and every one
Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 6 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 7 of 17

of the Released Claims,” including Unknown Claims,’ against each and every one of the Released

Parties, whether or not the Class Member executes and delivers the Proof of Claim. Except,

“Released Claims” means all Released Defendants’ Claims and all Releasing Class

Representative’s Claims. “Releasing Class Representative’s Claims” means any and all individual
or class claims, demands, losses, rights, and causes of action of any nature whatsoever, known or
Unknown Claims (defined below), whether arising under federal, state, common, or foreign law
by the Releasing Class Representative Parties against any of the Released Defendant Parties that
have been or could have been asserted in the Action, or could in the future be asserted in any
forum, domestic or foreign, or which arise out of, are based upon, or relate to in any way to: (i) the
purchase, sale, acquisition, or disposition of Olo’s Class A common stock during the Class Period
and (ii) any of the allegations, acts, transactions, facts, events, matters, occurrences,
representations, or omissions involved, set forth, alleged, or referred to, in the Action. For the
avoidance of doubt, Releasing Class Representative’s Claims do not include: (i) claims relating to
the enforcement of the Settlement; (ii) claims in any pending derivative litigation, including,
without limitation, Floyd v. Glass, et al., Case No. 1:23-cv-03770 (S.D.N.Y.), Floyd v. Glass, et
al., C.A. No. 2023-0560 (Del. Ch.), Balleh v. Glass, et al., C.A. No. 2023-1165 (Del. Ch.), and
Giuda v. Glass, et al., C.A. No. 2024-0025 (Del. Ch.); and (iii) any claims of Persons who submit
a request for exclusion that is accepted by the Court. “Released Defendants’ Claims” means all
claims and causes of action of any nature and description, including both known claims and
Unknown Claims (as defined below), whether arising under federal, state, common, or foreign
law, that Defendants could have asserted against the Releasing Class Representative Parties that
arise out of, or relate in any way to, the institution, prosecution, or settlement of the claims in the
Action, except for claims relating to the enforcement of the Settlement or any claims against any
Person who submits a request for exclusion that is accepted by the Court.

3 “Unknown Claims” means any Releasing Class Representative’s Claims which Class

Representative, any other Settlement Class Member, or any other Releasing Class Representative
Party does not know or suspect to exist in their favor at the time of the release of such claims,
which, if known by them, might have affected their decision(s) with respect to this Settlement,
including, but not limited to, whether or not to object to this Settlement or seek exclusion from the
Class; and any Released Defendants’ Claims which any Defendant or any other Released
Defendant Party does not know or suspect to exist in their favor at the time of the release of such
claims, which, if known by them might have affected their decision(s) with respect to this
Settlement. With respect to any and all Released Claims, the Parties stipulate and agree that, upon
the Effective Date of the Settlement, Class Representative and Defendants shall expressly waive,
and each of the other Settlement Class Members and each of the other Released Parties shall be
deemed to have waived, and by operation of the Judgment, shall have expressly waived, any and
all provisions, rights, and benefits conferred by any law of any state or territory of the United
States, or principle of common law or foreign law, which is similar, comparable, or equivalent to
California Civil Code §1542, which provides: A general release does not extend to claims that the
creditor or releasing party does not know or suspect to exist in his or her favor at the time of
executing the release, and that, if known by him or her, would have materially affected his or her
settlement with the debtor or released party. The Settling Parties shall expressly waive, and each

Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 7 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 8 of 17

however, the Settlement shall not release any claims in the action captioned Floyd v. Glass, et al.,
Case No. 1:23-cv-03770 (S.D.N.Y.), Floyd v. Glass, et al., C.A. No. 2023-0560 (Del. Ch.), Balleh
v. Glass, et. al., C.A. No. 2023-1165 (Del. Ch.), and Giuda v. Glass, et al., C.A. No. 2024-0025
(Del. Ch.).

13. | Upon the Effective Date, each of the Releasing Parties are hereby forever barred
and enjoined from filing, commencing, instituting, prosecuting, or maintaining, either directly,
indirectly, representatively, or in any other capacity, in this Court, or in any other court of law or
equity, administrative forum, or arbitration tribunal, any claim, counterclaim, cross-claim, third-
party claim, or other actions based upon, relating to, or arising out of, directly or indirectly, any of

the Released Claims.

Releasing Class Representative Party and Released Defendant Party shall be deemed to have, and
by operation of the Judgment shall have, expressly waived any and all provisions, rights, and
benefits conferred by any law of any state or territory of the United States, or principle of common
law, which is similar, comparable, or equivalent to California Civil Code §1542. The Releasing
Class Representative Parties and Released Defendant Parties acknowledge that they may hereafter
discover facts in addition to, or different from, those which he, she, it, or their counsel now knows
or believes to be true with respect to the subject matter of the Releasing Class Representative’s
Claims or Released Defendants’ Claims, but the Settling Parties shall expressly fully, finally, and
forever waive, compromise, settle, discharge, extinguish, and release, and each Releasing Class
Representative Party and Released Defendant Party shall be deemed to have waived,
compromised, settled, discharged, extinguished, and released, and upon the Effective Date, and by
operation of the Judgment shall have waived, compromised, settled, discharged, extinguished, and
released, fully, finally, and forever, any and all Released Claims, known or unknown, suspected
or unsuspected, contingent or non-contingent, whether or not concealed or hidden, which now
exist, heretofore have existed, or may hereafter exist, upon any theory of law or equity now existing
or coming into existence in the future, including, but not limited to, conduct which is negligent,
intentional, with or without malice, or a breach of any duty, law, or rule, without regard to the
subsequent discovery or existence of such different or additional facts, legal theories, or
authorities.

Class Representative and Defendants acknowledge, and each of the other Settlement Class
Members and each of the other Released Parties shall be deemed by operation of law to have
acknowledged, that the foregoing waiver was separately bargained for and a key element of the
Settlement.

Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 8 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 9 of 17

14. Upon the Effective Date, pursuant to 15 U.S.C. §78u-4(f)(7)(A), this Order
provides that every Person is permanently and forever barred and enjoined from filing,
commencing, instituting, prosecuting, or maintaining, either directly, indirectly, representatively,
or in any other capacity, in this Court, or in any other federal, foreign, state, or local court, forum
or tribunal, any claim, counterclaim, cross-claim, third-party claim, or other actions based upon,
relating to, or arising out of the Releasing Class Representative’s Claims and/or the transactions
and occurrences referred to in the Complaint, or in any other pleadings filed in this Action
(including, without limitation, any claim or action seeking indemnification and/or contribution,
however denominated) against any of the Released Defendant Parties, whether such claims are
legal or equitable, known or unknown, foreseen or unforeseen, matured or unmatured, accrued or
unaccrued, or are asserted under federal, foreign, state, local, or common law; this Order
specifically bars all future claims for contribution arising out of the Action: (i) by any person
against Olo Inc., Noah H. Glass, and Peter J. Benevides; and (ii) by Olo Inc., Noah H. Glass, or
Peter J. Benevides against any person, other than a person whose liability has been extinguished
by the Settlement.

15. | Upon the Effective Date, each of the Released Defendant Parties shall be deemed
to have, and by operation of this Final Order and Judgment shall have, fully, finally, and forever
released Class Representative, Class Counsel, and each and all of the Class Members from all
Released Defendants’ Claims.

16. All Class Members who have not made their objections to the Settlement in the
manner provided in the Notice are deemed to have waived any objections by appeal, collateral

attack, or otherwise.
Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 9 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 10 of 17

17. All Class Members who have failed to properly submit Requests for Exclusion

(requests to opt out) from the Class are bound by the terms and conditions of the Stipulation and

this Final Order and Judgment.

18. The Requests for Exclusion by the persons or entities in Exhibit A to this Final

Order and Judgment are accepted by the Court.

19. Neither this Final Order and Judgment, the Preliminary Approval Order, the

Stipulation (including the exhibits thereto), nor any of the negotiations, documents, or proceedings

connected with them shall be argued to be or offered or received:

(a)

(b)

Against any of the Released Defendant Parties as evidence of, or construed
as evidence of, any presumption, concession, or admission by any of the
Released Defendant Parties with respect to the truth of any fact alleged by
the Class Representative in the Complaint or the Action, or the validity of
any claim that has been, or could have been, asserted against any of the
Defendants in the Complaint or the Action, or the deficiency of any defense
that has been, or could have been, asserted in the Action, or of any
wrongdoing or liability by any of the Defendants, or any liability, fault,
misrepresentation, or omission with respect to any statement or written
document approved or made by any of the Defendants.

Against the Class Representative or any Settlement Class Member or Class
Counsel as evidence of, or construed as evidence of, any infirmity of the
claims alleged by the Class Representative in the Complaint or the Action

or of any lack of merit to the claims or the Amended Complaint or the
Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 10 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 11 of 17

(c)

(d)

Action or of any bad faith, dilatory motive, or inadequate prosecution of the
claims or the Complaint or the Action.

Against any of the Defendants, the Class Representative, or any Settlement
Class Member, or their respective legal counsel, as evidence of, or
construed as evidence of, any presumption, concession, or admission by any
of the Defendants, the Class Representative, or any Settlement Class
Member, or their respective legal counsel, with respect to any liability,
negligence, fault, or wrongdoing as against any of the Defendants, the Class
Representative, or any Settlement Class Member, or their respective legal
counsel, in any other civil, criminal, or administrative action or proceeding,
other than such actions or proceedings as may be necessary to effectuate the
provisions of the Stipulation, provided, however, that if the Stipulation is
approved by the Court, the Defendants, the Class Representative, and any
Settlement Class Member, or their respective legal counsel, may refer to it -
or file it as necessary to effectuate the liability protection and releases
granted them thereunder.

Against any of the Defendants as evidence of, or construed as evidence of,
any presumption, concession, or admission by any of them that any of the
Class Representative’s claims have merit, or that any defenses asserted by
the Defendants are without merit, or that the Settlement Amount represents
the amount which could or would have been received after trial of the

Action against them.

10

Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 11 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 12 of 17

(e) Against the Class Representative or any Settlement Class Member, or Class
Counsel, as evidence of, or construed as evidence of, any presumption,
concession, or admission by any of the Class Representative or any
Settlement Class Member that any of their claims are without merit, or that
any defenses asserted by the Defendants have any merit, or that damages
recoverable in the Action would not have exceeded the Settlement Fund.

20. Neither the Stipulation nor the Settlement, nor any act performed or document
executed pursuant to, or in furtherance of, the Stipulation or the Settlement: (a) is or may be
deemed to be, or may be used as, a presumption, concession, or admission of, or evidence of, the
validity of any Releasing Class Representative’s Claims or of any wrongdoing or liability of the
Defendants or the Released Defendant Parties; or (b) is or may be deemed to be, or may be used
as, a presumption, concession, or admission of, or evidence of, any fault or omission of any of the
Defendants or the Released Defendant Parties in any civil, criminal, or administrative proceeding
in any court, administrative agency, or other tribunal; or (c) is or may be deemed to be an admission
or evidence that any claims asserted by the Class Representative, any Class Member, or Class
Counsel were not valid in any civil, criminal, or administrative proceeding.

21. The Parties and other Released Parties may file or refer to this Final Order and
Judgment, the Stipulation, Preliminary Approval Order, and/or any Claim Form: (a) to effectuate
the liability protections granted hereunder or thereunder, including, without limitation, to support
a defense or counterclaim based on principles of res judicata, collateral estoppel, release, good-
faith settlement, judgment bar or reduction, or any theory of claim preclusion or issue preclusion

or similar defense or counterclaim; (b) to obtain a judgment reduction under applicable law; (c) to

11
Case 1:22-cv-08228-JSR Document126 Filed 06/11/24 Page 12 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 13 of 17

enforce any applicable insurance policies and any agreements relating thereto; or (d) to enforce
the terms of the Stipulation and/or this Final Order and Judgment.

22. In the event that the Settlement does not become Final and Effective in accordance
with the terms and conditions set forth in the Stipulation, then this Final Order and Judgment shall
be vacated, rendered null and void, and be of no further force and effect, except as otherwise
provided by the Stipulation, and this Judgment shall be without prejudice to the rights of the
Parties, and the Parties shall be deemed to have reverted nunc pro tunc to their respective positions
as of December 18, 2023, and the Parties shall proceed in all respects as if the Stipulation had not
been executed and the related orders had not been entered, without prejudice in any way from the
negotiation, fact, or terms of the Settlement, and preserving all of their respective claims and
defenses in the Action, and shall revert to their respective positions in the Action. In such
circumstances, the Parties shall thereafter work together to arrive at a mutually agreeable schedule
for resuming litigation of the Action.

23. Inthe event the Judgment does not become Final or the Settlement is terminated in
accordance with the terms and conditions as set forth in the Stipulation, within fourteen (14)
business days of: (a) the Order rendering the Settlement and Judgment non-Final such that no
appeal or other action can alter that outcome; or (b) of notice of the Settlement being terminated,
all monies then held in the Escrow Account, including interest, shall be returned to the persons
who contributed to the Settlement Fund in accordance with the terms outlined in the Stipulation.
Class Counsel shall return any fees or award previously distributed in connection with the
Settlement.

24. Exclusive jurisdiction is hereby retained over the Parties for all matters relating to

the Action, including the administration, interpretation, effectuation, or enforcement of the

12
Case 1:22-cv-08228-JSR Document126~ Filed 06/11/24 Page 13 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 14 of 17

Stipulation, the Settlement contained therein, the Settlement Fund, and this Final Order and
Judgment, and including any application for fees and expenses incurred in connection with
administering and distributing the Settlement proceeds to the Class Members.

25. Without further order of the Court, the Parties may agree to reasonable extensions
of time to carry out any of the provisions in the Stipulation.

26. Any order approving or modifying the Plan of Allocation, Class Counsel’s
application or award of attorneys’ fees and expenses, or Class Representative’s application for
award, shall be separate from, and shall not in any way disturb or affect, the finality of this
Judgment, the Stipulation, or the Settlement contained therein, nor any act performed or document
executed pursuant to, or in furtherance of, the Stipulation or the Settlement.

27. Defendants have provided notification to all appropriate federal and state officials
regarding the Settlement as required by 28 U.S.C. §1715.

28. The Court finds that during the course of the Action, the Parties and their respective
counsel at all times complied with the requirements of Federal Rule of Civil Procedure 11.

29. | The Court’s orders entered during this Action relating to the confidentiality of
information shall survive this Settlement.

30. The Court directs immediate entry of this Judgment by the Clerk of the Court.

31. A separate order shall be entered regarding Class Counsel’s application for
attorneys’ fees and payment of expenses as allowed by the Court. A separate order shall be entered
regarding the proposed Plan of Allocation for the Net Settlement Fund. Such orders shall in no
way disturb or affect this Final Order and Judgment and shall be considered separate from this
Final Order and Judgment. Such orders shall in no way affect or delay the finality of this Final

Order and Judgment and shall not affect or delay the Effective Date of the Settlement.

13
Case 1:22-cv-08228-JSR Document126 Filed 06/11/24 Page 14 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 15 of 17

32. Without affecting the finality of this Judgment in any way, this Court hereby retains
continuing jurisdiction over: (i) implementation of the Settlement; (ii) the allowance, disallowance,
or adjustment of any Settlement Class Member’s claim on equitable grounds and any award or
distribution of the Settlement Fund; (iii) disposition of the Settlement Fund; (iv) any applications
for attorneys’ fees, costs, interest, and payment of expenses in the Action; (v) all Parties for the
purpose of construing, enforcing, and administering the Settlement and this Final Order and
Judgment; and (vi) other matters related or ancillary to the foregoing. There is no just reason for
delay in the entry of this Judgment and immediate entry by the Clerk of the Court is respectfully
directed.

IT IS SO ORDERED.

DATED: lila Qe LY

JELYS. RAKOFF, U.S.D.J.
SOUTHERN DISTRICT OF NEW YORK

14
Case 1:22-cv-08228-JSR Document126 Filed 06/11/24 Page 15 of 16
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 16 of 17

EXHIBIT A
Case 1:22-cv-08228-JSR Document 126

Name
Joshua K Benn
Passkey Investors
Scott Lawton
Trace L5 Capital LLC
Jeffrey Steinberg
Scott Beck
Tyler Felous
Heather M Cull
Michelle Lozier
Jordan Ashdown
Blake Ashdown
Kenneth J Foote
lris Rochelle Foote
Donkersloot-Foote Family Trust
Charlotte Lynne Fitzpatrick
Alexander Kirby Foote
Benjamin Aaron Foote
Lark Allison Foote
Blythe Esther Foote
Juliet Ann Foote
Wisely Executive Holdings LLC
Amy E. Soltis
Pforzheimer Family Limited
Partnership

Tammy K Billings

Jacob Organek

Jacob Hyde

Eric Ralphs Bellquist Separate
Property Trust

Chibor Wisely, LLC

Project Zingerman - a series of

Lamplighter Syndicate Amster Fund

LLC

Christopher Bradley
Michael Vichich

Lori Ware

LeFranc Consulting Group
Daniel Fleischmann

David Cantu

The Little Red Bird, LLC

Filed 06/11/24
Case 1:22-cv-08228-JSR Document 125-3 Filed 06/03/24 Page 17 of 17

Requests for Exclusion

Location
Greenwich, CT
Darien, CT
Trumbull, CT

Briarcliff Manor, NY
Paradise Valley, AZ

Westport, CT
Washington, DC
Chicago, IL
Tampa, FL
Grand Rapids, MI
East Lansing, MI
Brighton, MI
Howell, MI
Baltimore, MD
Souderton, PA
Atlanta, GA
Chicago, IL
Exton, PA

East Lansing, MI
Sunnyvale, CA
East Lansing, MI
Lansing, Ml

Wilton, CT
Long Beach, CA

New York, NY
Darien, CT

Indian Wells, CA
Ann Arbor, MI

Raleigh, NC

New York, NY
Ann Arbor, MI
Greenburg, PA
Weddington, NC
New York, NY
Austin, TX
ColdSpring, NY

Exclusion ID#

Exclusion 1
Exclusion 2
Exclusion 3
Exclusion 4
Exclusion 5
Exclusion 6
Exclusion 7
Exclusion 8
Exclusion 9
Exclusion 10
Exclusion 11
Exclusion 12
Exclusion 13
Exclusion 14
Exclusion 15
Exclusion 16
Exclusion 17
Exclusion 18
Exclusion 19
Exclusion 20
Exclusion 21
Exclusion 22

Exclusion 23
Exclusion 24

Exclusion 25
Exclusion 26

Exclusion 27
Exclusion 28

Exclusion 29

Exclusion 30
Exclusion 31
Exclusion 32
Exclusion 33
Exclusion 34
Exclusion 35
Exclusion 36

Signed

Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes
Yes

Yes
Yes
Yes

Yes

Yes
Yes

Yes

Yes

Yes
Yes

Page 16 of 16

Postmarked
5/14/2024
5/13/2024
5/15/2024
5/17/2024
5/15/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024
5/16/2024

5/16/2024

5/20/2024 (email)

5/17/2024
5/20/2024

5/20/2024
5/20/2024

5/20/2024

5/21/2024
5/20/2024
5/20/2024
5/20/2024
5/21/2024
5/23/2024
5/10/2024

